Case 8:18-ap-00241-CP|\/| Doc 1¢:"€&`1\|/$§|\@§(29/18 Page 1 of 28

|\/|AY 29 2018

CLERK, US BANKRUPTCY COURT
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Tampa D|V|S|ON

28 Pages Scanned by LG

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLGRIDA
TAMPA DIVISION

In Re:

NU ALLIANCE COMPANY©TM

HOME RETENTION®SM

(SECURITY INTEREST HOLDERS)
Third Party Plaintiffs’

 

“NU ALLIANCE COMPANY”
Alleged “DEBTOR”*
(NO-ROBO SIGNED)

NU ALLIANCE COMPANY
Plaintiff

Jeffrey S. Fraser (Fiduciary)
JEFFREY S. FRASER, ESQ. (Fiduciary)
BANK OF AMER!CA, N.A. (Fiduciary)
All Assigns and Agents Hereby are jointly
& Severely and Bound AKA/FKA/DBA
JOHN LEE DOE 1-10,000
Third Party Defendants
/

The Law Oches ofRUBIN LUBLIN, LLC
Defendant*
/

Case NO. 8:18-bk-03533-CPM

NO HEARING REQUESTED

Adv. Pro. No. 8-18-ap-0024l-CPM

PLAINTlFFS’ MOTION TO STRlKE DEBTORS REQUEST HEARING TO VALlDATE
POST-PETITION FORECLOSURE SALE & ORDER TO CONFIRM THE REMOVAL OF AUTOMATIC
STAY WITH PROOF OF SUPERIOR CLAIM & PROOF OF SERVICE TO ALL DEBTORS

Case 8:18-ap-OO241-CP|\/| Doc 10 Filed 05/29/18 Page 2 of 28

COMES NOW, NU ALLIANCE COMPANY, (“the Debtor”) hereby moves pursuant to §362
(a)(h) to Object to the Emergency Motion to Validate Post-Petition Foreclosure Sale For an
Order Confirming the Automatic Stay is Not In Effect-Emergency Hearing Requested filed by
BANK OF AMERICA, N.A. (“the Movant”) by and through their counsel Jeffrey S. Fraser, Esq.
of Albertelli Law and in support respectfully stating as follows:

l. On May 17, 2018 the Dispossessory Civil Action Case No. l8D44002 filed by the third
party purchaser (the “3PP”) Simone Marshall of Plumeria Enterprises, Inc. In The
Magistrate Court of Dekalb County, State of Georgia for possession of the property
located at 5801 Rock Springs Rd., Lithonia, GA 3003 8, was voluntary dismissed by the
3PP’s counsel because the 3PP was informed the foreclosure sale was rescinded.
This is a direct contradiction of the Movant Emergency Motion filed on May 18, 2018
and Certification of Necessity of Request for Emergency hearing filed on May 21, 2018
by their counsel Jeffrey S. Fraser, Esq. of Albertelli Law. (See attached Exhibit A).

As the Movant counsel Jeffrey S. Fraser, Esq. of Albertelli Law, claimed to have
Certified in his filed Certification of Necessity of Request for Emergency hearing, as a
member of the Bar of the Court, that he has carefully examined the matter under
consideration and to the best of his knowledge, information and Belief formed after
reasonable inquiry, all allegation are well grounded in fact and all contentions are
warranted by existing law or a good faith argument for the extension, modification, or
reversal of existing law can be made, that the matter under consideration is not
interposed for any improper purpose, such as to harass, to cause delay, or to increase the
cost of litigation

Counselor further claims to certify that their client the Movant seeks validation of the
foreclosure sale held on May lst, 2018 requires a hearing.

Counselor further claims to certify that the necessity of this emergency hearing has not
been caused by a lack of due diligence on his part.

Counselor further claims to certify that this motion is filed with full understanding of
F.R.B.P. 9011 and the consequences of noncompliance with same.

2. On May 21, 2018 Counselor Jeffrey S. Fraser, Esq. of Albertelli Law, filed Certification
of Necessity of Request for Emergency hearing is a direct Violation Under Rule
9011(b)(3), by presenting a bankruptcy court with a petition, pleading, motion, or other
paper, the attorney or unrepresented party is certifying, among other things, that the
allegations and other factual contentions have evidentiary support. Rule 9011
incorporates an objective standard, the application of which involves the following two-
step analysis: “whether the party’s claims are objectively frivolous in view of the facts
or law and then, if they are, whether the person who signed the pleadings should have
been aware that they were frivolous; that is, would he have been aware had he made a
reasonable inquiry.” A court must look beyond the party’s subjective intent to
determine whether, under the circumstances, a reasonable person would have taken the
same actions. Factually groundless allegations where the presenter offers no cognizable
evidence to support his or her allegations merit Rule 9011 sanctions. And, significant to
the facts at issue here, Rule 9011 does not exclude non-lawyers from its operation.

(See Judge McEwen Sanctions Green Tree under FRBP 9011)

 

Case 8:18-ap-OO241-CP|\/| Doc 10 Filed 05/29/18 Page 3 of 28

. On May 8, 2018 the Debtor received a letter from the Movant stating that were notified
of the Debtors bankruptcy case. (See attached Exhibit B).

. On May 1, 2018 the Law office of RUBIN LUBLIN, LLC and their “Alleged” client
BANK OF AMERICA, N.A., proceeded with an foreclosure auction sale on the property
located at 5801 Rock Springs Rd., Lithonia, GA 30038 and 6236 Katelyn Park, Lithonia
GA 30058 after they were notified by via fax at 12:50 am Est., 2:52 am Est. and 1:11 am
Est. that NU ALLIANCE COMPANY (Owner of both properties) filed a Bankruptcy
Petition Case #18-03533. Anjali Khosla of RUBIN LUBLIN, LLC Law office
confirmed receipt of the NU ALLIANCE COMPANY filed Bankruptcy Petition. Anjali
Khosla counsel for the Law Office of RUBLIN LUBLIN also confirmed that the Law
Office of RUBIN LUBLIN, LLC was going to continue with the scheduled foreclosure
sale despite knowing and confirming acknowledgment of the filed Bankruptcy Petitions.
(See attached Exhibit C).

. Furthermore, On April 27, 2018 Anthony Ross (who previously obtained the Security
Deed from the Movant) notified the Law office of RUBIN LUBLIN, LLC. by
Certificate of Service via Federal Express (Tracking # 780703212298) signed by T.
Mitchell at approximately 9:43 am at their office location 3145 Avalon Ridge Place, Ste.
100, Peachtree Corners, GA 30071, that the Law Office of RUBIN LUBLIN, LLC and
their “Alleged” client BANK OF AMERICA, N.A. and their “Alleged” client
WILMINGTON SAVINGS FUND SOCIETY, FSB TRUSTEE OF STANWICH
MORTGAGE LOAN TRUST A (for the property located at 6236 Katelyn Park,
Lithonia, GA 30058) have been added to Bankruptcy Case #16-74455 as Creditors.
(See attached Exhibit D).

. On May 3, 2018 Anthony Ross filed a Notice of Complaint for Violation of the
Automatic Stay Pursuant to Section 362 (a),(h) against the Law Office of RUBIN
LUBLIN, LLC and their “Alleged” client BANK OF AMERICA, N.A. and their
“Alleged” client WILMINGTON SAVINGS FUND SOCIETY, FSB TRUSTEE OF
STANWICH MORTGAGE LOAN TRUST A. Which the Law Office of RUBIN
LUBLIN, LLC was notified of the complaint filing.

. The Law Office of RUBIN LUBLIN, LLC and their “Alleged” clients were also notified
that Doris Ross & Anthony Ross have revoked, and terminated, and rescinded all
Powers of Attorney, in fact or otherwise, previously assigned by Doris Ross & Anthony
Ross, implied in 1aw, by trust or otherwise, with or without my consent and/or
knowledge, as such pertains to any property, located at 5801 Rock Springs Rd.,
Lithonia, GA 30038 real or personal, Promissory Note/Loan/Security Deed of Trust
Recorded October 22, 2007 in Deed Book 20387, Page 280 on the above mentioned
property Notice of Revocation of Power Of Attorney was recorded in the Clerk of
Superior Court Dekalb County, Book 26872 Pg. 529 and Doris Ross property, located at
6236 Katelyn Park, Lithonia, GA 30058 real or personal, Promissory
Note/Loan/Security Deed of Trust Recorded June 23, 2005 in Deed Book 17606, Page
516 on the above mentioned property Notice of Revocation of Power Of Attorney was
recorded in the Clerk of Superior Court Dekalb County, Book 26872 Pg. 491.

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 4 of 28

8. The Movant avers “Creditors” alleges with this Court that the Debtor “never” provided
notice in time to stop the sale from being completed in favor of the Movant, therefore a
3PP proceeded to purchase the property and take related actions consistent with
ownership. Which is another direct contraction of the Fedex tracking confirmation, fax
confirmations and the Movant counsel Jeffrey S. Fraser, Esq. of Albertelli Law alleged
due diligence.

9. On April 30, 2018, the Debtor NU ALLIANCE COMPANY federal Employer
ldentification Number XX-XXXXXXX filed their 1St instant Chapter 7 bankruptcy case 8:18-
bk-03533-CPM in the Middle District of Florida. The Movant counsel Jeffrey S. Fraser,
Esq. of Albertelli Law is deliberately slandering NU ALLIANCE COMPANY’s name.

10. The Movant seeks validation of the state court’s foreclosure sale in its favor and such
relief based on erroneous fabricated allegations by the Movant counsel Jeffrey S. Fraser,
Esq. of Albertelli Law as a member of the Bar of the Court whom claimed to certify that
the necessity of request for emergency hearing has not been caused by the lack of due
diligence on their part.

11. Based upon the Finding of Facts this motion filed by the Movant counsel Jeffrey S.
Fraser, Esq. of Albertelli Law has not been filed in good faith and is Prima Facie and
according to Uniform Commercial Code UCC3-505 is deemed as defiant and without
merit and without consistency. There is no need for an emergency hearing if the sale has
already been rescinded.

12. Furthermore, Regardless of the both Debtors Bankruptcy filing petitions the Law Office of
RUBIN LUBLIN, LLC and their “Alleged” clients BANK OF AMERlCA, N.A., Willfully
Violated the Bankruptcy Reforrn Act of 1978 Pursuant to Section 362 (a),(h) and proceeded
with the foreclosure auction sale on the property located at 5801 Rock Springs Rd., Lithonia,
GA 30038 and 6236 Katelyn Park, Lithonia GA 30058 On May l, 2018. The LaW Office of
RUBIN LUBLIN, LLC and their “Alleged” clients BANK OF AMERICA, N.A., actions
were malicious and done willfully in conscious disregard of the rights of the Debtors in
that the actions were calculated to injure the Debtors.

HEREBY, The Debtor Respectfully Requests that this Court issues an Estoppel and the case to
be sealed with prejudice and sanctions against the Movant “Creditors” and their counsel Jeffrey
S. Fraser, Esq. of Albertelli Law from engaging in future misconduct and the erroneous frivolous
groundless allegations presented by the Movant counsel that offers no cognizable evidence to
support his allegations and that Movant requested Emergency Motion to Validate Post-Petition
Foreclosure Sale hearing be cancelled

Respectfully submitted, this 24th day of May, 2018

K>*W%@M%a
NU ALLIANCE COMPANY

7000 Eunice Drive
Riverdale, GA 30274

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 5 of 28

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

In Re:
NU ALLIANCE COMPANY Case No. 8:18-bk-03533-CPM

Debtor* Chapter: 7

/

NU ALLlANCE COMPANY

Plaintiff"‘
Vs. Adv. Pro. No. 8-18-ap-0024l-CPM

The Law Office of RUBIN LUBLIN, LLC

Defendant*

CERTIFICATE OF SERVICE

This is to certify that I/we have this day served a copy of this Complaint upon defendants, all
identified counsel of record and all parties of interest by depositing a true and correct copy of the
same in the United States mail with adequate postage affixed thereto to ensure delivery,
addressed as follows:

U.S. Bankruptcy Court
l\/Iiddle District of Florida
801 No. Florida Avenue
Tampa, FL 33602

Jeffrey S. Fraser, Esq.
Albertelli Law

P.O. Box 23028
Tampa, FL 33623

Respectfully submitted, May 24, 2018

NU ALLIANCE COMPANY
7000 Eunice Drive
Riverdale, GA 30274

 

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 6 of 28

'fN-THE MAG|_STRATE COURT OF DEKALB COU`NTY

     
 

 

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Pi'aintiff_, j
, cwa Ac'nzos_»z '
v. case No.. 18-1>440@2
ami-rom 's=¢oss.oa oc.c_uPAN-r, '
Defendant.

 

 

 

COMES NOW the ‘P¥aintit?, by and through her undersigned counsei, and
dismisses this case without prejudice because she has been §nformed' the“forec¥osure
sa!e is being rescinded

Da%ed: May `3 ?“'1' ,_ 2018.

 

 

 

708 vChui'.c~i'i St Decatur_, GA 30030-
494-9394099 404~935-9399 (fax)
:mt@-mt§iomas¥awfirm.com

Attomey for Plaintfff

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§ hereby certify mail f have:'sewéd a copy of the foregoing Notice or Vo!untary
Dismissal by first’ctass mail to the `Defendant',_ Anthony Ross, at 5801 Rock Spring Rd.,
Lithonia GA 30033. '

 

 

 

MAG|STRATE COURT OF
DEKALB COUNTY, GA.
5/18/20181:24 PM

FlLED

BY: Jayme White

 

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 7 of 28

EXH|B|T
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Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 10 of 28

 

EXHIBIT

Fax C

 

 

 

Rubin Lublin, LLC

 

 

 

T°: F"°m: Nu Al|iance Company
Foreclosure /Bankruptcy Department

Fax: 404-601-5846 Pages: 2

Phone: 877-81 3-0992 Date: 05/1/2018

Re: cc:

Notice of Bankruptcy Fi|ing

 

\/ i_l Urgent U For Review flP/ease Comment i_iPIease Reply i:lPlease Recycle

icomments.'
Hel|o:

Please see the attached Notice of Bankruptcy filing for the following below:
Nu Al|iance Company Case # 18-03533

Property address:
5801 Rock Springs Rd.
Lithonia, GA 30038

Name: Doris Ross &Anthony Ross
Fi|e Number: BAC-18-01109-1

Nu Al|iance Company is the owner of the above mentioned property, Deed recorded
in the Clerk of Superior Court Deka|b County Book 26872, Page 519. This is a request
to cancel the scheduled sale for May 1, 2018 on the above mentioned property.

According to the United States Bankruptcy Provision Code 11 U.S.C. 362 an
automatic stay is imposed on the property.

Thank you
Nu Alliance Company
470-253-4591

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 11 of 28

Fill in this information to identify the case:

 

United Siates Bankruptcy Court for the:
MiDDLE District of FLOR|DA t
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§ Case number (/f)<nown): l ',é’ 12 § §§ z Chapter 7

cl Check if this is an
amended n|ing

 

 

Official Form 201 .
Voluntary Petition for Non-lndiv_iduals Fi|ing for Bankruptcy 04/16

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number ( if known). For more information, a separate document, lnstructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name NU ALLlANCE COMPANY

 

z. All other names debtor used
in the last 8 years

 

 

 

include any assumed names,
trade names, and doing business l
as names ‘

 

 

 

3_ Debtor’s federal Emp|oyer 4 §_z_ _g_`_(p__é_§_ g(_o_i_

identification Number (E|N)'

 

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
3630 AVENUE H W. 7000 EUNlCE DR\VE
Nu_mber Street Number Street
b b l ` l?.O., Box
RlVlERA BEACH FL 33404 R|VERDALE GA 30274
Cifv 5wa ZlP Code city state ziP code

 

Location of principal assets, if different from
principal place of business

 

 

 

 

 

 

 

PALM BEACH
County
f Number Street
city Siate zlP Code
5. Debtor’s website (URL)
5_ Type of debtor Corporaiion (including Limited l_iability Company (L.LC) and Limited Liability Partnership (LLP))

El Partnership (exciuding LLP)
EI other. specify;

 

 

Official Form 201 Voluntary Petition for Non-lndividuals Fi|ing for Bankruptcy page 1

 

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 12 of 28

 

Hi Nu A|liance, Re: UNKNOWN

The fax you sent through |Vinax to 14046015846 Was successfully transmitted

Fax Detaiis

Date: 2018-05-01 04:50:37 (GMT)
Number of Pages: 2

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if you have any questions, please call (866) 563-9212 or visit our on|ine help center at
Www.rn iax,com/su ort. Thank you for using the l\/inax service.

 

Sincereiy,
The i\/|yFax Team

 

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Myi`-zi>< is s regisisissi trademark sng Gicbai, inc and affiliates
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Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 13 of 28

 

 

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Hi Nu Al|iance, Re: UNKNOWN

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Sincereiy,
The lV|yFax Team

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6922 Hollywosté Bivd., Los Aiigsies, CA §0028

 

   

 

 

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Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 14 of 28

 

EXHIBIT
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_r _ Bank ofAmerica F _
°' '°m' NuA|iiance Company
Foreclosure /Bankruptcy Depaitment
Fax: 888-294-5658 Pages: 2
Phone: 800-846-2222 Date: 05/1/2018
Re: cc:

Notice of Bankruptcy Fi|ing

 

\/ i_i Urgent L_i For Review ;lPlease comment UPlease Reply UPIease Recycle

 

dcomments:
Hello:

Please see the attached Notice of Bankruptcy filing for the following beloW:
Nu Al|iance Company Case # 18-03533

Property address:
5801 Rock Springs Rd.
Lithonia, GA 30038

Name: Doris Ross &Anthony Ross
Attorney’s Fi|e Number: BAC-18-01109-1
Servicing Lender’s #: 6827 8002 811899

Nu Al|iance Company is the owner of the above mentioned property, Deed recorded
in the Clerk of Superior Court Deka|b County Book 26872, Page 519. This is a request
to cancel the scheduled sale for May 1, 2018 on the above mentioned property.

According to the United States Bankruptcy Provision Code 11 U.S.C. 362 an
automatic stay is imposed on the property.

Thank you
Nu Al|iance Company
470-253-4591

Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 15 of 28

Fill in this information to identify the case:

United States Bankruptcy Court for the: 1
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§ Case number (/rimown): \ ?é’ 12 5,5‘1§ Chapter 7

a Check if this is an
amended filing

 

 

Official Form 201 .
Voluntary Petition for Non-lndiv_iduals Fi|ing for Bankruptcy inns

if more space is needed, attach a separate sheet to this fon'n. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more inforrnation, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name NU ALLiANCE COMPANY

 

 

2. All other names debtor used
in the last 8 years

 

 

 

include any assumed names,
trade names, and doing business t
as names '

 

 

3. Debtor’s federal Emp|oyer `; _'z_z_ Q`_Q__é__f§_ _.Q(_pl

identification Number (E|N)-

 

 

 

 

 

4_ Debtor’s address Principal place of business Mai|ing address, if different from principal place
of business
3630 AVENUE H W. 7000 EUNlCE DRlVE
, Number Street k _ Number Street
v _ .. _ P.OA!Box
RlViERA BEACH FL 33404 R|VERDALE GA 30274
Cify State ZiP Code city State ZiP code

Location of principal assets, if different from
principal place of business

 

 

 

 

 

 

 

PALM BEACH
County
' Number Street
city Swte zlP Code

5. Debtor’s website (URL)
6_ Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liabi|ity Partnership (LLP))

El Partnership (exciuding LLP)

Ei other specify

 

 

Official Form 201 Voluntary Petition for Non-individuais Fi|ing for Bankrupfcy page 1

 

Case 8:18-ap-00241-CPl\/| Doc 10 Filed 05/29/18 Page 16 of 28

 

Hi Nu Alliance, Re: UNKNOWN

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Www.m fax,com/su ort. Thank you for using the MyFax service.

 

Sincere|y,
The lV|yFax Team

 

 

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Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 17 of 28

 

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Tue May 01 19:38:22 GMT 2018

This Signature Proof of De|ivery l_etter has been requested by;
Name:

Comrnents;

 

05/ °1/ 2018 tjaSsBé 335?1§'-43596)@§4§?'&9>1\?°400c 10 Filed 05/29/18 . Pag§A§§ 01 28 OF 2

 

il/lay1,2018

Dear Customer:

The following is the proof-of-deiivery for tracking number 780703212298.

 

 

 

De||very information:
Status: De|ivered De|ivered to: Mai|room
Signed for by: T. MiTCl-lEi_l_ De|ivery location: Peachtree Corners, GA
Service type: FedEx Standard Overnight De|ivery date: Apr 27, 2018 09:43
Special Handling: De|iver Weei<day

Signature image is available in order to view image and detailed information the shipper or payor account number of
the shipment must be provided

 

 

Shipping lnfom\ation:

Tracking number: 780703212298 Ship date: Apr 26, 2018
Weight: 0.5 lbs/02 i<g

Recipient: Shipper:

Peachtree Corners, GA US i-|empstead, NY US

Thank you for choosing FedE)<_

 

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Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 Page 21 of 28

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Case 8:18-ap-OO241-CP|\/| Doc 10 Filed 05/29/18 Page 22 of 28

 

 

 

 

 

 

 

 

 

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FAQs > (http://faq.usps.com/?articleld=220900)

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Tracking Number: 701714500001 77757957

Remove X

Your item was picked up at a postal facility at 9:40 am on Apri| 9, 2018 in NORCROSS, GA 30091.

C\}/ Dé|ivered
April 9, 2018 at 9:40 am

Delivered, lndividual Picked Up at Postal Facility
NORCROSS, GA 30091

 

Tracking Hictory

Aprll 9, 2018, 9:40 am
Delivered, individual Picked Up at Posta| Faci|ity

NORCROSS, GA 30091
¥our item Was picked up at a postal facility at 9: 40 am on April 9, 2018' in NORCROSS, GA 30091.

  

April 7, 2018, 10:09 arn
Out for De|ivery
NORCROSS, GA 30071

Aprll 7, 2018, 9:59 am
Sorting Comp|ete
NORCROSS, GA 30071 ‘

 

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Apri| 7, 2018, 9:20 am
Arrived at Unit
NORCROSS, GA 30071

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https://too|s. usps.com/go/'l'rackConfirmAction ?tRef#u||page&th=3&text28777=&tLabels=701 71450000177757957%2C%20 1/3

5/25/2018

Case 8:13-3p-00241-CPl\/l US'E§§&"‘PO USl‘-‘il§&°tl§%/Sf§€ Page 24 of 28

 

April6,2018,11:16 pm
Departed USPS Regional Facility
ATLANTA NORTH l\/|ETRO D|STR|BUT|ON CENTER

 

Apri| 6, 2018
ln Transit to Next Faci|ity

 

Apri| 5, 2018, 9:07 pm
Arrived at USPS Regiona| Facility
ATLANTA NORTH METRO D|STR|BUT|ON CENTER

Apri| 5, 2018, 4:20 pm
Departed Post Office
L|THON|A, GA 30058

 

 

April 5, 2018, 3:11 pm
USPS in possession of item
L|THON|A, GA 30058

 

 

 

Product lnformation

 

See Less /\

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions

FAQs (http://faq.usps.com/?artic|eld=220900)

https://too|s.usps.com/go/TrackConflrmAction?tRef=fu||page&th:S&tethB777=&tLabels=70171450000177757957%2C%2C

2/3

5/25/2013 Case 8:18-ap-00241-CPl\/l US"[’%&"PO USF-€ilé”&°'d§l®z@eff§i Page 25 of 28

The easiest tracking number is the one you don't have to know.

With informed De|ivery®, you never have to type in another tracking number. Sign up to:

See images* of incoming mail.

Automatical|y track the packages you're expecting.

Set up email and text alerts so you don't need to enter tracking numbers.

Enter USPS De|ivery instructionsTM for your mail carrier.

Sign Up

(https://reg.usps.com/entreg/RegistrationAction_input?

*NOTE: Black and white (graysca|e) images show the outside, front of letter-sized envelopes and
mai|pieces that are processed§§REH§R§§FS|§§&PM@€!-EBHB§%§@%ZF%2Ft°°'5-uSPS-COm%ZFg‘

https://too|s.usps.com/go/TrackCoannAction?tRef=fu|lpage&th=3&text28777:&tLabe|s'-'70171450000177757957%2C%2€ 3/3

 

5/25/2018 SP.-Scom® USPS Trackin ®Results .
Case 8:18--ap -0-0241 CPI\/|U Doc 10 Filed 0 /29/18 Page 26 of 28

'ALERT: AS OF APR|L 30, USPS. COM NO LONGER SUPPORTS OUTDATED BROWSERS. TO CO...

U SPS Tracki n g®_ d FAQs ) (http://faq.usps.com/?artic|eld=220900)

Track Another Package +

Tracking7 Number: 70171450000177757971

Remove X

Your item was picked up at a postal facility at 9:40 am on April 9, 2018 in NORCROSS, GA 30091.

 

®/ De|ivered

April 9, 2018 at 9:40 am
Delivered, |ndividual Picked Up at Postal Faci|ity
NORCROSS, GA 30091

 

Tracking History

April 9, 2018, 9:40 am

Delivered, individual Picked Up at Posta| Faci|ity

NORCROSS, GA 30091

Your item was picked up at a postal facility at 9: 40 am on April 9, 2018 m NORCROSS, GA 30091.

  
  

April7,2018,5:35pm l ‘WH;;;;, HECE;;:T

 

 

  
  

 

 

 

 

 

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Avaiiabie for Pici<up §
NoRcRoss, GA 30093 :
ry
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April 7, 2018, 10:01 am g
De|ivery Attempted - No Access to De|ivery Location g
NoRcRoss, GA 30071 n _
__ “=~" l
'“ Kme/ 2
V
April 7, 2013, 9-20 am §
Arrived at Unit rci F&:/ "/'
Noncnoss, GA 30071 ~», 'Z“ 5 5 /9""/‘)0
' 12 L’c’ @)/M/€¢c AO')/

 

 
 
   

P‘S f o: m 3800 April 2015 ’~>Sr i. .' Sci: Fl evelso for lnstructions

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5/25/2018 USPS.com® - USPS Tracking® Resu|ts
Case 8:18-ap-00241-CP|\/| Doc 10 Filed 05/29/18 ' Page 27 of 28

April6,2018,11:15 pm
Departed USPS Regional Faci|ity
ATLANTA NORTH METRO DlSTRlBUT|ON CENTER

April 6, 2018
ln Transit to Next Faci|ity

April 5, 2018, 9:07 pm
Arrived at USPS Regional Facility
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https://tools.usps.com/go/TrackConErmAction?tRef=fu||page&th=4&text28777=&tl.abels=70171450000177757971%2C%20%2C 2/3

 

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Case 8:18-ap-00241-CPi\/i Doc 10 Flied 05/29/18 Page 28 of 28

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The easiest tracking number is the one you don't have to know.

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*NOTE: Biack and white (graysca|e) images show the outside, front of letter-sized envelopes and
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